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                                             CLOSED
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  7                            UNITED STATES DISTRICT COURT
  8                           CENTRAL DISTRICT OF CALIFORNIA
  9                                   EASTERN DIVISION
10
11 Fernando Orozco,                                 Case No.: 5:12-cv-02026-JGB-DTB
12               Plaintiff,                         ORDER
13          vs.
14 Reliant Capital Solutions; and DOES 1-10,
   inclusive,
15
16                 Defendants.

17
18           Based on the Stipulation of counsel, the case is dismissed with prejudice, each
19 party to bear its own attorney fees and costs.
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21 Date: March 31, 2014                             ___________________________
22                                                  Judge: Hon. Jesus G. Bernal
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      5:12-cv-02026-JGB-DTB                                          STIPULATION OF DISMISSAL
